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Plaintiff,

v. l NO. 2:05-cv-02418-JDB-tmp

L
CITY OF MILLINGTON,
JERRY LADD, and
WILLIAM J. HOWARD,

Defendants.

 

¢HHH‘ RULE 16(B) SCHEDULING ORDER

 

I. Pursuant to Rule 16(b), a scheduling conference Will be held in

this case on July 28, 2005. Present for the conference will bel
Jason G. Wolfkill, Esq., Counsel for Plaintiff, and
Edward J. McKenney, Jr., Esq., Counsel for Defendants.

II. Pursuant to Rule 26(6, the parties reported that initial
disclosures as required by Rule 26(a)(1) are to be made by the plaintiff and by
the defendant by Aug'ust 11, 2005.

III. Pursuant to the scheduling conference, the following dates Will
be established as the final dates fori

A. JOINING PARTIESI September 28, 2005
B. AMENDING PLEADINGSZ September 28, 2005

C. INITIAL MOTIONS TO DISMISS October 28, 2005

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D. COMPLETING ALL DISCOVERY! March 28, 2006

(1) DOCUMENT PRODUCTION and
INTERROGATORIES (propounded so that
responses are due no later than)! March 28, 2006

(2) DEPOSITIONS AND REQUESTS FOR
ADMISSIONS (propounded so that responses are
due no later than)! March 28, 2006

(3) EXPERT WITNESS DISCLOSURE (Rule 26)5

(a) PIAINTIFF’S RULE 26 EXPERT
INFORMATION! January 16, 2006

(b) DEFE NDANTS’ RULE 26 EXPERT
INFORMATION! February 15, 2006

E. FILING DISPOSITIVE MOTIONS! Apri128, 2006
IV. Under Rule 30 and Rule 31 of the Federal Rules of Civil

Procedure, no deposition shall exceed one (1) day of seven (7) hours in length,
unless authorized by the Court. Each side is limited to ten (10) depositions
unless additional depositions are authorized by the Court after a showing of
good cause.

V. Under Rule 33 of the Federal Rules of Civil Procedure, no more
than twenty-five (25) written interrogatories shall be served on a party
unless authorized by the Court.

VII. No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other filings that require
a response must be filed sufficiently in advance of the discovery cutoff date to
enable opposing counsel to respond by the time permitted by the Rules prior

to that date.

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VIII. Motions to compel discovery are to be filed and served by the
discovery deadline or Within thirty (30) days of the default or the service of`
the response, answer, or objection, which is the subject of the motion, if the
default occurs within thirty (30) days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the
objection to the default, response, answer, or objection shall be waived.

IX. This case is set for jury trial, and the trial is expected to last
three (3) days. The pretrial order date, pretrial conference date, and trial date
Will be set by the presiding judge.

X. The parties do not consent to all matters being conducted by the
Magistrate Judge, including the conduct of a jury trial, if properly demanded,
with any appeal of the verdict to be directly to the Sixth Circuit Court of
Appeals, pursuant to 28 U.S.C. § 636(0).

XI. The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however, without
leave of the Court. If a party believes that a reply is necessary, it shall file a
motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required

XII. Absent good cause shown, the scheduling dates set by this order

will not be modified or extended.

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Stipulated by the parties this Z-D day of July, 2005.

 

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Si#fature

Attorneys for Defendantsi
Edward J. McKenney, Jr. (TN BPR 5380)

Harris Shelton Hanover Walsh, PLLC
One Commerce Square, Suite 2700

Memphis, TN 38103'2555
Signature é a § l,)J" "'/ fm

 

Adopted by the Court¥

IT IS SO ORDERED.

‘t;:%

UNITED STATES MAGISTR.ATE JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-024l 8 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

